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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                                 CIVIL ACTION
       v.
                                                 FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


                 DECLARATION OF DR ERIC D. COOMER

      Pursuant to 28 U.S.C. § 1746, I, Dr. Eric D. Coomer, make the following

declaration:

                                      1.

      My name is Dr. Eric D. Coomer. I am over the age of 21 years, and I am

under no legal disability which would prevent me from giving this

declaration. If called to testify, I would testify under oath to these facts.

                                      2.

      I am the Director of Product Strategy and Security for Dominion Voting

Systems (“Dominion”). I was previously the Vice President of U.S.

Engineering for Dominion, and prior to that, I was the Vice President of




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President and CEO, the Poll Pad is certified for use in the following states:

California, Idaho, Indiana, Minnesota, New York, Ohio, Pennsylvania, Texas,

Virginia.

                                     9.

      Dominion’s optical scanners (ICP) can be used with BMD-marked paper

ballots or hand-marked paper ballots. The ICP units do not interpret the

human-readable (text) portion of either type of ballot. Instead, the ICP units

are programmed to read the QR Code for the BMD ballot or particular

coordinates on hand marked ballot. Please see Exhibit A for a sample of

coordinates on the hand-marked ballot. The target locations are then

correlated to individual choices represented on the ballot. Pre-Logic and

Accuracy Testing (Pre-LAT) is performed each election on every machine to

verify that the target locations on hand-marked ballots, and the barcodes on

BMD-marked ballots correspond correctly to the choices represented on the

ballots and the digital cast-vote-records.

                                  10.

      Every ballot (hand-marked, or BMD generated) scanned on a

Democracy Suite tabulator creates a digital image of the front and back of the

ballot. In addition, the tabulators append an AuditMark to each image. The

AuditMark is a text representation of how the tabulator interpreted the

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ballot at scan time. This image can be used to audit the results of the

election. Each AuditMark includes information on which tabulator the ballot

was scanned. This unique feature of the ImageCast tabulators allows

Election Officials to independently audit how the tabulator interpreted the

QR Code or hand-marked ballot using a single image of the ballot with the

appended AuditMark. It also includes a randomized sequence number when

scanned on the ImageCast Precinct Tabulator. This randomized sequence

number preserves voter anonymity as there is no way to correlate the

sequence number to either an individual voter, or a specific point in time that

the ballot was cast. When results and images are stored on the removable

memory (Compact Flash cards), no date-timestamp information is included

which prevents the ability to recreate the sequence of how the ballots were

cast thus preserving voter anonymity.

                                 11.

      Any changes to the source code of any component of Democracy Suite

would require new certification by the U.S. Election Assistance Commission

and the State of Georgia.

                                 12.

      The Dominion BMDs being implemented in Georgia do not require

calibration in the same way as Georgia’s legacy DREs because they do not

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